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JS 45
(01/2008)

           REDACTED
Criminal Case Cover Sheet                                                                                                      II.S. District Court

Place of Offense;                           Under Seal;Yes X No              Judge Assigned: ^             [t'S
City                                Superseding Indictment                   Criminal Number;            1:15-CR-

Countv/Parish                       Same Defendant                           New Defendant           X

                                    Magistrate Judge Case Number                                  Arraignment Date;
                                    Search Warrant Case Number

                                    R 20/R 40 from District of

                                    Related Case Name and No:         U.S.v. Andriy Derkach, 12-CR-522
Defendant Information;

Juvenile     Yes      No X     FBI #

Defendant Name; Aleksei Yurievich Burkov                         Alias Name(s) "Aleksey Yurevich Burkov"
Address;                                St. Petersburg, Russia
Employment:

Birth date            1990 SS#                 Sex M DefRace                  Nationality                         Place of Birth

Height                Weight         Hair              Eyes                   Scars/Tattoos

Interpreter:       _ No          Yes List language and/or dialect;                       Automobile Description
Location Status;

Arrest Date

   ^Already in Federal Custodyas of                                   in


   Already in StateCustody          On Pretrial Release                    Not in Custody
 X Arrest Warrant Requested              Fugitive                          Summons Requested
   Arrest Warrant Pending                Detention Sought                  Bond
Defense Counsel Information;

Name;                                               Court Appointed                Counsel conflicted out:

Address:                                            Retained


Telephone:                                          Public Defender                Federal Public Defender's Office conflicted out:

U.S. Attorney Information;


AUSA       Kellen S. Dwyer               Telephone No:703-299-3707         Bar #
Complainant Asencv, Address & Phone Number                or Person & Title;

Ronald Adams, U.S. Secret Service

U.S.C. Citations:

           Code/Section              Description of Offense Charged          Count(s')            Capital/Felonv/Misd/Pettv
                                     Conspiracy to Commit Access
Set I      l8U.S.C.§l029(bX2) Device Fraud                                           I            Felony

           18 U.S.C. §§                                                                           Felony
Set 2                                  Access Device Fraud                          2
           1029(a)(2) and 2(a)

Set 3      18 U.S.C. § 1349          Conspiracy to Commit Wire Fraud                3             Felony

Set 4      18 U.S.C. §§ 1343           Wire Fraud                                   4              Felonv
           and 2(a)

Date;       August 11 ,2015          Signature of AUSA;
